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                        Exhibit 3
                               Case: 1:25-cv-05846 Document #: 12-4 Filed: 06/04/25 Page 2 of 2 PageID #:278
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            1:25-cv-05846

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for SCAN2CAD INC.
 was recieved by me on 5/30/2025:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on (name of individual) , who is designated by law to accept service of process on behalf of (name
                                    of organization); or



           X                        I returned the summons unexecuted because Unknown after attempting service at 7901 4th Street North, Suite 300
                                    St. Petersburg, FL 33702; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 92.70 for services, for a total of $ 92.70.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   06/02/2025
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                  Server's signature



                                                                                                                                                 Joseph Daly
                                                                                                                                                 Printed name and title



                                                                                                            33090 Rosewood Bark Way
                                                                                                            Wesley Chapel, FL 33545


                                                                                                                                                   Server's address




           Additional information regarding attempted service, etc:

           5/30/2025 11:45 AM: I spoke with an individual who identified themselves as the person authorized to accept and they
           stated subject, SCAN2CAD INC., is unknown to them.




                                                                                                                                                               Tracking #: 0171903868
